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 9                                        UNITED STATES DISTRICT COURT

10                                     NORTHERN   D]
                                              JSr DISTRl

11       IN RE; REQUEST FOR INTERNATION.           JAllirf?^]                                  69MISG
         JUDICIAL ASSISTANCE FROM THE      )
12       BOSNIA AND HERZEGOVINA MINISTRY ) MEMORANDUM IN SUPPORT OF
         OF JUSTICE ON BEHALF OF THE BASCI ) APPLICATION FOR ORDER PURSUANT TO
13       COURT IN BIJELJINA IN THE MATTER OF ) TITLE 28 U.S.C. § 1782
         DEJANBLAGOJEVIC V. DRAGAN
14       DURDEVIC

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17              The United States District Courts are empowered by 28 U.S.C. § 1782 to subpoena witnesses and
18       compel the production of documents on behalf of foreign and international tribunals. In this case, a
19       Basic Court inBijeljina, Bosina and Herzegovina, requests the U.S. Attorney's Office to obtain
20       information and documents from Facebook, Inc. ("Facebook") inMenlo Park, Califomia, which is
21       ocated within the jurisdiction ofthis Court. The Basic Court in Bijeljina seeks non-content information
22       about the identity ofthe user ofthe profile located at https;//www.facebook.com/ugasen.profil24.
23       including the IP addresses used to access the profile. See Declaration ofJennifer SWang, Exhibit A.
24              The authority ofthis Court to order the production ofevidence for use ina proceeding ina
25       foreign country is set forth in 28 U.S.C. § 1782, which provides that
26
                        The district court of the district in which a person resides or is found mayorder
27                      him to give his testimony or statement orto produce a document or other thing for
                        use in a proceeding in a foreign or international tribunal. The order may be made
28                     pursuant to a letter rogatory issued, or request made, by a foreign or international
         MPA ISO APPLICATION FOR ORDER PURSUANT
         TO TITLE 28 U.S.C. § 1782
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